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 1   McGREGOR W. SCOTT
     United States Attorney
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     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2797
 5
 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-08-103 LKK
12             Plaintiff,             )
                                      )   STIPULATION AND ORDER
13                                    )   CONTINUING EVIDENTIARY HEARING
          v.                          )
14                                    )
     JOHN PHILIP PRUITT and           )
15   DARYL ANTHONY BERG,              )
                                      )
16             Defendants.            )   Hon. Lawrence K. Karlton
                                      )
17
18        The parties request that the evidentiary hearing currently
19   set for November 5, 2008, at 10:00 a.m., be continued to November
20   13, 2008, at 10:00 am.    It is the parties understanding that the
21   Court is available on the proposed date.
22        A superseding indictment was filed on October 30, 2008.            The
23   requested continuance will allow the government to acquire and
24   discover a transcript of the testimony given on October 30, 2008,
25   in connection with the superseding indictment.        The defense will
26   also need time to review the new transcript.
27        The parties believes the transcript will be relevant to the
28   defendants’ conduct of the evidentiary hearing.         Time has been

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 1   excluded through January 13, 2009, for defense trail preparation.
 2
 3                                            Respectfully Submitted,
 4                                            McGREGOR W. SCOTT
                                              United States Attorney
 5
 6   Dated: October 31, 2008            By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
 7                                         Assistant U.S. Attorney
 8
 9   Dated: October 31, 2008            By:/s/ John Balaz
                                           JOHN P. BALAZS
10                                         Attorney for defendant
                                           Daryl Berg
11
12   Dated: October 31, 2008            By:/s/ Michael B. Bigelow
                                           MICHAEL B. BIGELOW
13                                         Attorney for defendant
                                           John Pruitt
14
15                                    ORDER
16
17   IT IS SO ORDERED.
18
19   Dated: November 3, 2008
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